     Case 1:19-cv-00499-GTS-TWD Document 20 Filed 07/25/19 Page 1 of 2




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_____________________________________________

ELISABETH A. BRITT; and JOHN C. BRITT,
                        Plaintiffs,
                                                       8:19-CV-0490
v.                                                     (GTS/TWD)

JOHNSON & JOHNSON, et al.,
                        Defendants.
_____________________________________________

ROBERT BROWN, as Special Adm’r for the Estate of
Theresa Brown; and ROBERT BROWN, as Spouse,
                         Plaintiffs,
                                                       1:19-CV-0495
v.                                                     (GTS/TWD)

JOHNSON & JOHNSON,
                        Defendant.
_____________________________________________

LORI DEYO-OBLER; and G. SCOTT OBLER,
                       Plaintiffs,
                                                       1:19-CV-0499
v.                                                     (GTS/TWD)

JOHNSON & JOHNSON,
                        Defendant.
_____________________________________________

SCOTT HEITKAMP; and BRENDA HEITKAMP,
                      Plaintiffs,
                                                       5:19-CV-0500
v.                                                     (GTS/TWD)

JOHNSON & JOHNSON,
                        Defendant.
_____________________________________________

GLENN T. SUDDABY, Chief United States District Judge
      Case 1:19-cv-00499-GTS-TWD Document 20 Filed 07/25/19 Page 2 of 2




                                   DECISION and ORDER

       Currently pending before the Court, in these four related products liability actions are

Plaintiffs’ motions to remand. On July 24, 2019, Defendant(s) filed a notice in each action,

advising the Court that, in light of U.S. District Judge Maryellen Noreika’s recent Memorandum

Opinion in In re: Imerys Talc Am., Inc., et al., No. 19-MC-0103 (D. Del. filed July 19, 2019),

they were withdrawing their oppositions to Plaintiffs’ motions to remand. For those reasons, and

the reasons stated in the Court’s prior Decisions and Orders remanding the other related products

liability actions (Nos. 19-CV-0459, 19-CV-0464, 19-CV-0493, and 19-CV-0494), the Court

grants Plaintiffs’ motions to remand.

       ACCORDINGLY, it is

       ORDERED that the motions to remand in the four above-captioned products liability

actions are GRANTED.

Dated: July 25, 2019
       Syracuse, New York




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